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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:21-cv-22445-KMM

   DONALD J. TRUMP, et al.,

          Plaintiffs,
   v.

   YOUTUBE, LLC, et al.,

          Defendants.
                                                  /

                              ORDER ON MOTION TO TRANSFER

          THIS CAUSE came before the Court upon Defendants YouTube, LLC (“YouTube”) and

   Sundar Pichai’s (collectively, “Defendants”) Motion to Transfer to the Northern District of

   California. (“Mot.”) (ECF No. 64). Therein, Defendants request that the Court transfer the

   above-captioned case to the Northern District of California, pursuant to a forum-selection clause

   in YouTube’s Terms of Service (“TOS”). See generally id. Plaintiffs Donald J. Trump (“Trump”),

   Kelly Victory (“Victory”), Austen Fletcher (“Fletcher”), American Conservative Union (“ACU”),

   Andrew Baggiani (“Baggiani”), Maryse Veronica Jean-Louis (“Jean-Louis”), Naomi Wolf

   (“Wolf”), and Frank Valentine (“Valentine”), individually, and on behalf of those similarly

   situated (collectively, “Plaintiffs”) have filed a response in opposition. (“Resp.”) (ECF No. 65).

   Defendants filed a reply. (“Reply”) (ECF No. 68). The Motion is now ripe for review.

   I.     BACKGROUND1

          This case arises from various actions taken by YouTube with respect to Plaintiffs’ use of

   its platform. See generally Am. Compl. Plaintiff Trump’s YouTube account was suspended



   1
     The relevant facts are taken from the Amended Complaint, (“Am. Compl.”) (ECF No. 21), and
   exhibits attached to Plaintiffs’ Motion and Defendants’ Response.
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   following a sequence of events that began on January 6, 2021, when YouTube removed a video

   posted by Plaintiff Trump in which he “allegedly ‘repeat[ed] false information about the outcome

   of the election,’” in a video addressing the Capitol attack. Id. ¶¶ 164, 168. On January 13, 2021,

   YouTube stated that it would prevent Plaintiff Trump’s account from uploading new videos for at

   least seven (7) days. Id. ¶ 167. Then, on January 26, 2021, YouTube stated: “[i]n light of concerns

   about the ongoing potential for violence, the Donald J. Trump channel will remain suspended.”

   Id. ¶ 168.2

          However, the factual allegations in the Amended Complaint are not limited to the

   circumstances surrounding Plaintiff Trump’s YouTube account. The Amended Complaint also

   alleges facts relating to YouTube’s handling of accounts and videos for Plaintiffs Victory, Fletcher,

   ACU, Wolf, Baggiani, Valentine, and Jean-Louis. See generally Am. Compl. Plaintiff Victory

   has had multiple videos involving her views on how to mitigate the risks of COVID-19, and

   thereby restart church services and schools, removed for violations of “community standards.” Id.

   ¶¶ 207–210. Plaintiff Fletcher maintained a YouTube account on which he discussed various

   conservative-leaning viewpoints, as well as opinions on COVID-19 and related public health

   measures such as “lockdowns.” Id. ¶¶ 212–216. Plaintiffs claim Plaintiff Fletcher’s account was

   “demonetized” and had multiple videos removed by YouTube—which resulted in a loss of more

   than $50,000 to him personally. Id. ¶ 216. Lastly, Plaintiff ACU was sanctioned by YouTube and

   had video’s removed involving “election integrity issues” and treatment of COVID-19 with the

   drug hydroxychloroquine. Id. ¶¶ 224–227. Plaintiff ACU was also temporarily suspended in July

   of 2021. Id. ¶ 230. Plaintiffs Baggiani, Jean-Louis, Wolf, and Valentine allege similar facts




   2
     Plaintiffs also allege that YouTube interfered with Plaintiff Trump’s ability to run political ads
   on YouTube beginning in December of 2019. Am. Compl. ¶ 162.
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   involving videos being taken down, accounts being suspended, and/or accounts being

   demonetized. Id. ¶¶ 173–200.

          Plaintiffs filed the original Complaint (ECF No. 1) on July 7, 2021 and an Amended

   Complaint on July 27, 2021. In the Amended Complaint, Plaintiffs bring the following claims:

   (1) a claim that YouTube has violated the First Amendment to the U.S. Constitution (“Count I”),

   see Am. Compl. ¶¶ 235–254; (2) a claim seeking a declaratory judgment of unconstitutionality as

   to Section 230 of the Communications Decency Act, 47 U.S.C. § 230, and related injunctive relief

   (“Count II”), see id. ¶¶ 254–266; (3) a claim seeking injunctive relief under the Florida Deceptive

   and Unfair Trade Practices Act (“FDUTPA”), Florida Statutes § 501.203(8), (“Count III”), see id.

   ¶¶ 267–282; and (4) a claim seeking damages under FDUTPA, Florida Statutes § 501.2041,

   (“Count IV”), see id. ¶¶ 283–301.

          On August 23, 2021, Plaintiffs filed a Motion for Preliminary Injunction seeking, inter

   alia, an Order reinstating Plaintiff Trump’s access to his YouTube channel and a declaration that

   Section 230(c) of the Communications Decency Act is unconstitutional as applied to the facts of

   this case. (ECF No. 43) at 29–30. The Court later stayed briefing on Plaintiffs’ Motion for

   Preliminary Injunction, pending the outcome of venue-related concerns raised by Defendants.

          On September 17, 2021, Defendants filed the instant Motion to Transfer to the Northern

   District of California, premised upon the forum-selection clause included in YouTube’s TOS. See

   generally Mot.

   II.    LEGAL STANDARD

          28 U.S.C. § 1404 provides, “[f]or the convenience of parties and witnesses, in the interest

   of justice, a district court may transfer any civil action to any other district or division where it

   might have been brought or to any district or division to which all parties have consented.”



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   § 1404(a).   “[A] forum-selection clause may be enforced by a motion to transfer under

   § 1404(a)[.]” Atl. Marine Const. Co. v. U.S. Dist. Ct. for W. Dist. of Texas, 571 U.S. 49, 52 (2013).

   “When a defendant files such a motion[], a district court should transfer the case unless

   extraordinary circumstances unrelated to the convenience of the parties clearly disfavor a transfer.”

   Id.   “[A] proper application of § 1404(a) requires that a forum-selection clause be ‘given

   controlling weight in all but the most exceptional cases.’” Id. at 59–60 (citing Stewart Org., Inc.

   v. Ricoh Corp., 487 U.S. 22, 33 (1988)); see also GDG Acquisitions, LLC v. Gov’t of Belize, 749

   F.3d 1024, 1028 (11th Cir. 2014) (“[A]n enforceable forum-selection clause carries

   near-determinative weight.”).

           Where the parties have agreed to a forum-selection clause, a court evaluating a motion to

   transfer should “afford no weight to either the plaintiff’s selected forum or the parties’ private

   interests, and [should] ignore the choice-of-law rules of the original venue.” Hisey v. Qualtek

   USA, LLC, 753 F. App’x 698, 703 (11th Cir. 2018) (citing Atl. Marine, 571 U.S. at 62–65). In

   such circumstances, “the plaintiff must bear the burden of showing why the court should not

   transfer the case to the forum to which the parties agreed.” Atl. Marine, 571 U.S. at 64.

           Typically, a plaintiff may seek to overcome this burden by showing that the public interest

   favors the preselected forum.      Id.   “Public-interest factors may include ‘the administrative

   difficulties flowing from court congestion; the local interest in having localized controversies

   decided at home; [and] the interest in having the trial of a diversity case in a forum that is at home

   with the law.’” Id. (quoting Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241 & n.6 (1981)).




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   III.   DISCUSSION

          A.      YouTube’s Forum-Selection Clause.

          Attached to Defendants’ Motion is the Declaration of Alexandra N. Veitch (“Ms. Veitch”),

   who is a Director on YouTube’s Government Affairs and Public Policy Team. (“Veitch Decl.”)

   (ECF No. 64-1) ¶ 1. Therein, Ms. Veitch states that in order for users to create a YouTube channel,

   they are required to accept the TOS. Id. ¶ 10. Additionally, each time a user uploads a video, that

   user is required to “click a button reaffirming their acceptance of and agreement to be bound by

   the TOS before the video would be posted to YouTube.” Id. ¶ 11. Based on a review of YouTube’s

   records, Ms. Veitch states all Plaintiffs have “affirmatively clicked a button indicating their

   acceptance of and agreement to be bound by the TOS . . ., whether in the process of creating their

   YouTube channels, uploading videos to those channels, or both.” Id. ¶ 12.

          A copy of YouTube’s TOS is attached to Ms. Veitch’s Declaration as Exhibit A thereto.

   (“TOS”) (ECF No. 64-2). The TOS includes a forum-selection clause in a paragraph entitled

   “Governing Law,” which states:

          All claims arising out of or relating to these terms or the Service will be governed
          by California law, except California’s conflict of laws rules, and will be litigated
          exclusively in the federal or state courts of Santa Clara County, California, USA.
          You and YouTube consent to personal jurisdiction in those courts.

   Id. at 7. Ms. Veitch states that the forum-selection clause was present in the TOS when each

   Plaintiff indicated their acceptance of and agreement to be bound by the TOS. Veitch Decl. ¶ 12.

   Plaintiffs have not disputed that they agreed to the TOS in the manner described by Ms. Veitch.

   See generally Resp. Thus, the Court finds that the Plaintiffs have all agreed to the TOS.




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          B.      This Case Must Be Transferred to the Northern District of California
                  Pursuant to the Forum-Selection Clause in YouTube’s TOS.

          Defendants argue that the Parties agreed to a binding forum-selection clause, which

   requires this case to be transferred to, and litigated in, the Northern District of California. Mot. at

   8. Defendants contend that no extraordinary circumstances preclude a transfer of this case to the

   Parties’ designated federal forum. Id. at 9–10. Defendants also argue that the forum-selection

   clause in YouTube’s TOS encompasses the claims asserted by Plaintiffs. Id. at 10. Defendants

   point to a number of other cases arising from challenges to YouTube’s moderation of content on

   its platform that have been transferred pursuant to the forum-selection clause. Mot. at 1–2, 12

   (citing Seaman v. YouTube, LLC, No. 3:18-cv-833-HEH, Dkt. 20 at 1 (E.D. Va. Apr. 5, 2019);

   Kifle v. YouTube LLC, No. 1:21-cv-00238-JPB, Dkt. 24 (N.D. Ga. Mar. 12, 2021); Lewis v.

   Google, Inc., 2019 WL 10749715, at *3 (D. Colo. Dec. 31, 2019); Ramani v. YouTube LLC, 2019

   U.S. Dist. LEXIS 162086, at *5 (S.D.N.Y. Sept. 20, 2019); Muhammad v. YouTube, LLC, 2019

   WL 2338503, at *3 (M.D. La. June 3, 2019); Song fi, Inc. v. Google Inc., 72 F. Supp. 3d 53, 64

   (D.D.C. 2014)). Thus, Defendants argue that the forum-selection clause is enforceable in this case.

   Mot. at 13–14. Defendants also argue that the forum-selection clause is mandatory, given the

   wording of the provision which states that covered claims “will be litigated exclusively in the

   federal or state courts of Santa Clara County, California.” Id. at 14 (citing Bowen, 2008 WL

   1757578, at *2 (explaining that YouTube’s clause is “cast in mandatory terms”) (other citations

   omitted)). Finally, Defendants submit that there are no public-interest factors which disfavor a

   transfer to the Northern District of California. Id. at 15–18.

          In response, Plaintiffs contest the transfer of this case to the Northern District of California

   on six grounds. First, Plaintiffs argue that YouTube’s TOS do not apply to governmental entities,

   including Plaintiff Trump, as former President of the United States. Resp. at 1. Second, Plaintiffs

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   assert that the forum-selection clause in YouTube’s TOS is not enforceable. Id. Third, Plaintiffs

   contend that under Florida law, the forum-selection clause is ambiguous and should be construed

   against Defendants. Id. Fourth, Plaintiffs argue that their claims do not arise from the specific

   terms of the clause. Id. Fifth, Plaintiffs submit that the public interest weighs in favor of keeping

   this case in the Southern District of Florida. Id. And sixth, Defendants contend that because the

   forum-selection clause does not apply, this case should remain in the Southern District of Florida

   under 28 U.S.C. § 1404(a). Id.

           In reply, Defendants contend that Plaintiffs’ argument that YouTube’s forum-selection

   clause cannot apply to Plaintiff Trump because he was formerly the President is unsupported by

   citations to legal authority. Reply at 1. Relatedly, Defendants point out that Plaintiff Trump: (1)

   was a private citizen when he created his account, (2) was a private citizen when he brought this

   suit, and (3) is currently seeking personalized relief (i.e., the restoration of his YouTube account

   in his personal capacity). Id. Defendants also argue that the plain language of the forum-selection

   clause covers the claims here, as they are “directly and inexorably linked to both YouTube’s

   service and TOS.” Id. Defendants assert that the claims under FDUTPA, under established law,

   do not allow Plaintiffs to avoid transfer. Id. at 1–2. Lastly, Defendants dispute Plaintiffs’ attempt

   to portray this case as a localized controversy, when it is in fact a case with nationwide implications

   in many respects—not least of which is because this case has been brought on behalf of a putative

   nationwide class seeking broad nationwide relief, including the invalidation of a federal statute.

   Id. at 2.

                  1. Plaintiff Trump’s Former Status as the President of the United States Does
                     Not Preclude the Application of the Forum-Selection Clause in This Case.

           Plaintiffs’ argument that the forum-selection clause does not apply to Plaintiff Trump

   because he is the former President of the United States creates a threshold issue in this case that

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   the Court must address before deciding whether the forum-selection clause is valid and

   enforceable.

            Plaintiffs argue that Plaintiff Trump’s use of social media while he was President had been,

   in many cases, considered to be statements made in his official capacity. Resp. at 4 (citing Hawaii

   v. Trump, 859 F.3d 741, 773 n.14 (9th Cir. 2017), cert. granted sub nom., Trump v. Int’l Refugee

   Assistance Project, 137 S. Ct. 2080 (2017) (treating a tweet by Plaintiff Trump as an official

   statement). Relatedly, Plaintiffs point out that Plaintiff Trump’s tweets were retained by the

   National Archives and Records Administration as official records under the Presidential Records

   Act. Id. at 3. Plaintiffs also argue that Plaintiff Trump’s social media accounts were considered a

   “public forum” for purposes of applying the First Amendment. Resp. at 8, 10 (citing Knight First

   Amdt. Inst. at Columbia Univ. v. Trump, 928 F.3d 226, 232 (2d Cir. 2019)). Plaintiffs provide the

   Court with two agreements that they claim limit the application of forum-selection clauses to the

   United States, and Plaintiff Trump as the former President. (ECF Nos. 65-1, 65-2). Plaintiffs

   contend that Plaintiff Trump was using his social media accounts in his official capacity at all

   times relevant to this suit and, therefore, the forum-selection clause in the TOS is not controlling

   as to venue in the above-captioned case. Id. at 4. Lastly, Plaintiffs argue that Defendants have not

   shown that the forum-selection clause encompasses the federal government. Resp. at 7.

            In reply, Defendants assert that Plaintiffs’ arguments amount to “smoke and mirrors.”

   Reply at 4. Defendants note that Plaintiff Trump is not bringing this lawsuit as the President of

   the United States or as a representative of the federal government. Id. To the contrary, Defendants

   point out that Plaintiff Trump is (1) suing on his own behalf, (2) seeking damages payable to

   himself, and (3) seeking an injunction restoring his private YouTube account. See generally Am.

   Compl.      Additionally, Defendants point out that Plaintiffs’ argument premised upon the



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   non-enforceability of the TOS against governmental entities, such as Plaintiff Trump as the former

   President, is “conspicuously unsupported by any actual legal authority.” Reply. at 1. Defendants

   also note that the claims asserted in the Amended Complaint are inherently related to Plaintiff

   Trump in his capacity as a private citizen—for example, FDUTPA is a Florida law that protects

   consumers, not governmental entities or officials. Id. at 3. Defendants also argue the agreements

   cited to by Plaintiffs for the proposition that the federal government is not bound by forum-

   selection clauses are irrelevant and do not even mention forum-selection clauses. Id. at 4.

          To begin, the Court need not reach the issue of whether the United States or its officials

   can be bound by a forum-selection clause because, in this case, there is no federal agency or entity

   that is a party to this case. Plaintiffs assert that “[a]t all times relevant to this action, Plaintiff

   [Trump] was the sitting President of the United States, and used his social media accounts

   and YouTube’s services in that capacity as a public forum.” Resp. at 4. Yet, that is plainly not

   the case because Plaintiff Trump agreed to the TOS in his individual capacity, has brought this suit

   in his individual capacity, and is seeking the restoration of his YouTube account in his individual

   capacity. See generally Am. Compl. Indeed, as recognized in the Amended Complaint, Plaintiff

   Trump is bringing this case not as the President of the United States, but as “a private citizen and

   is domiciled in Palm Beach, Florida.” Id. ¶ 16. Plaintiff Trump’s status in this case as a private

   citizen is further confirmed by the fact that he is pursuing claims under FDUTPA—which provides

   no cause of action for the federal government or its officials. Id. ¶¶ 267–301. Thus, because

   Plaintiff Trump is not a party to this case in an official government capacity, the Court finds these

   arguments to be without merit.

          Relatedly, the Court finds Plaintiffs’ arguments premised on the Second Circuit’s opinion

   in Knight to be unrelated to the enforceability of the forum-selection clause in this case. In Knight,



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   the Second Circuit held that Plaintiff Trump’s Twitter account was a “public forum” such that

   Plaintiff Trump violated the First Amendment by blocking users from interacting with his account.

   928 F.3d at 237–38. But this holding has no impact on the enforceability of the forum-selection

   clause in this case, where Plaintiff Trump is a party in his individual capacity.

          Further, in any event, the Court finds that Plaintiffs’ arguments are not sufficiently

   supported by citations to legal authority.      For example, Plaintiffs state that “[t]he federal

   government recognizes that federal entities using social media platforms do not have the authority

   to bind themselves to the standard choice of forum, choice of law, or choice of venue terms that

   the major social media platforms have in their terms of service.” Resp. at 6. However, this

   proposition is not supported by any citation to legal authority. Id. The only support for this

   proposition appears to come from two documents attached to Plaintiffs’ Response. First, Plaintiffs

   point to an agreement between the National Archives and Records Administration and

   YouTube—which is attached as Exhibit 1 to Plaintiffs’ Response. (“NARA Agreement”) (ECF

   No. 65-1). Second, as Exhibit 2 to Plaintiff’s Response, Plaintiffs have provided the Court with a

   webpage entitled “Federal-Compatible Terms of Service Agreements – A guide to the agreements

   negotiated between the federal government and vendors who offer digital tools and services.”

   (“Digital.gov Webpage”) (ECF No. 65-2).

          Setting aside that Plaintiffs’ second submission is not even a contract, but a webpage,

   Plaintiff Trump is not a party that is provided for in either document. Plaintiffs’ argument relies

   heavily on the first document’s statement “that any disputes under these agreements will be

   governed by and interpreted and enforced in accordance with the laws of the United States of




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   America without reference to conflict of laws.” Resp. at 2 (citing NARA Agreement at 4).3

   However, it is not clear that this language would negate the application of a forum-selection clause

   to the federal government—let alone in the unusual circumstance of a former federal official who

   used private social media accounts for public purposes. Simply put, Plaintiffs have not cited to,

   nor is the Court aware of, any legal authority standing for the proposition that a former federal

   official is exempt from a forum-selection clause to which he agreed to in his individual capacity.

   Plaintiffs’ argument to that effect is, therefore, without merit.4

                  2. YouTube’s Forum-Selection Clause Is Mandatory and Enforceable.

          Defendants argue that YouTube’s forum-selection clause is mandatory and enforceable in

   this case, because “[c]ourts have consistently held forum-selection clauses in standard-form online

   agreements—like the YouTube TOS that Plaintiffs expressly accepted (Decl. ¶ 12)—to be ‘valid

   and enforceable.’” Mot. at 12–14 (citing Segal v. Amazon.com, Inc., 763 F. Supp. 2d 1367, 1369

   (S.D. Fla. 2011); (other citations omitted)). In particular, Defendants point to an unbroken line of

   cases in which federal courts have enforced YouTube’s forum-selection clause. Id. at 13–14

   (citing Seaman, No. 3:18-cv-833-HEH, Dkt. 20 at 1; Kifle, No. 1:21-cv-00238-JPB, Dkt. 24;

   Lewis, 2019 WL 10749715, at *3; Ramani, 2019 U.S. Dist. LEXIS 162086, at *5; Muhammad,

   2019 WL 2338503, at *3; Song fi, 72 F. Supp. 3d at 64). Lastly, Defendants contend that the

   forum-selection clause is, by its terms, mandatory. Id. at 14 (citing Bowen, 2008 WL 1757578, at

   *2 (explaining that YouTube’s clause is “cast in mandatory terms”)).



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     Plaintiffs also point to language purportedly included in the Digital.gov Webpage stating that
   disputes “will be governed by . . . the law of the United States of America without reference to
   conflict of laws.” Resp. at 2 (citing Digital.gov Webpage).
   4
     The Court need not—and does not—reach the issue of whether a forum-selection clause would
   apply to the federal government under circumstances where a federal official is actually a party to
   a case, in his or her own official capacity.
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           Plaintiffs contend that the forum-selection clause is ambiguously drafted, and that any

   ambiguity should be construed against the drafter. Resp. at 7 (citing Travelcross, S.A. v. Learjet,

   Inc., No. 10-61842-CIV, 2011 WL 13214118, at *1 (S.D. Fla. Mar. 28, 2011)). Plaintiffs contend

   that the forum-selection clause in YouTube’s TOS is permissive, not mandatory, and thus does not

   dictate the forum for this litigation. Id. at 7–8. Specifically, Plaintiffs argue that:

           By using “consent,” Defendants suggest that Users cannot raise an objection to
           lawsuits filed in California, while leaving the door open to Defendants initiating
           actions in different courts. This combination of exclusive jurisdiction (“litigated
           exclusively”) with permissive language (“consent to personal jurisdiction”) creates
           an ambiguity in the clause which is fatal to its effectiveness.

   Id. at 12. Plaintiffs contend that this case is analogous to Travelcross, where the court found that

   a forum-selection clause was ambiguous. Id. at 13 (citing Travelcross, 2011 WL 13214118 at *1).

           In reply, Defendants contend that the forum-selection clause, when read in its entirety, is

   clearly not permissive. Reply at 6. Defendants also distinguish Travelcross because in that case,

   the court concluded that the clause was ambiguous because it referred to “jurisdiction” but not

   “venue.” Id. (citing Travelcross, 2011 WL 13214118 at *1, 4).

           To begin, the Court finds that the forum-selection clause in this case is mandatory, not

   permissive, based on a plain reading of the entire clause, which states:

           All claims arising out of or relating to these terms or the Service will be governed
           by California law, except California’s conflict of laws rules, and will be litigated
           exclusively in the federal or state courts of Santa Clara County, California, USA.
           You and YouTube consent to personal jurisdiction in those courts.

   TOS at 7. The Court agrees with Defendants that the terms of the forum-selection clause are

   mandatory. The first sentence of the clause states, in no uncertain terms, that all claims arising out

   of or relating to the TOS “will be litigated exclusively” in California courts. Thus, the forum-

   selection clause, read in its entirety, makes clear that the Parties’ consent to personal jurisdiction

   in California does not render the clause permissive. Id.

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          Additionally, Plaintiffs’ reliance on Travelcross is misplaced because in that case, the

   forum-selection clause designated Kansas as the “exclusive jurisdiction” for claims—which

   then-U.S. District Judge Adalberto Jordan explained is a concept that is different from venue.

   Travelcross, 2011 WL 13214118 at *4. In this case, there is no cause for uncertainty because the

   forum-selection clause states that all claims “will be litigated exclusively” in California courts.

   TOS at 7. This language plainly encompasses venue for claims arising out of or relating to the

   TOS and, therefore, the Court finds that the forum-selection clause is unambiguous.

          Moreover, Plaintiffs have not raised any argument relating to Defendants’ reliance on an

   unbroken line of cases in which federal courts have reviewed, and enforced, YouTube’s

   forum-selection clause.       See generally Resp.; see Mot. at 13–14 (citing Seaman,

   No. 3:18-cv-833-HEH, Dkt. 20 at 1; Kifle, No. 1:21-cv-00238-JPB, Dkt. 24; Lewis, 2019 WL

   10749715, at *3; Ramani, 2019 U.S. Dist. LEXIS 162086, at *5; Muhammad, 2019 WL 2338503,

   at *3; Song fi, 72 F. Supp. 3d at 64).

          For these reasons, the Court finds the terms of the forum-selection clause to be both

   mandatory and unambiguous.

                  3. The Forum-Selection Clause Encompasses Plaintiffs’ Claims.

          Defendants contend that the language of the forum-selection clause encompasses

   Plaintiffs’ claims, because the “phrase ‘arising out of’ is interpreted broadly and covers ‘all causes

   of action arising directly or indirectly from the business relationship evidenced by the contract.’”

   Resp. at 10 (quoting Stewart, 810 F.2d at 1070). Defendants argue that the claims asserted in the

   Amended Complaint fall within the clause’s scope because the claims “arise from Plaintiffs’ status

   as YouTube users and stem from YouTube’s alleged decisions to remove their videos (or other

   content) from the service or to suspend their channels[.]” Id. (citing Am. Compl. ¶¶ 234–301).



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   Defendants also point out that Plaintiffs’ repeatedly reference concerns over YouTube’s

   compliance with the TOS throughout the Amended Complaint. Id.

           In response, Plaintiffs argue that claims asserted in the Amended Complaint do not arise

   within the scope of the forum-selection clause because Plaintiffs’ claims under FDUTPA are not

   based on their use of YouTube’s services, but rather deceptive practices towards Florida

   consumers. Resp. at 10–13. Plaintiffs note that Florida courts have found FDUTPA claims are

   independent, and outside the scope of forum-selection clauses. Id. at 11 (citing Management

   Computer Controls, Inc. v. Charles Perry Constr., Inc., 743 So. 2d 627 (Fla. Dist. Ct. App. 1999)

   (“The unfair trade claim is an independent statutory claim that is severable from all the remaining

   claims. It does not arise out of the contract, nor does it exist solely for the benefit of the parties to

   the contract[.]”). Thus, Plaintiffs argue that their FDUTPA claims arise not out of a breach of the

   agreement, but out of Defendants’ ongoing deceptive practices, and therefore the forum-selection

   clause does not apply. Id. at 13. Plaintiffs also argue that FDUTPA claims implicate a public

   policy that favors of keeping such claims in Florida. Id. 14–16.

           Defendants argue in their Reply that there is no rule against applying a forum-selection

   clause to FDUTPA claims. Resp. at 6 (citing Farmers Grp., Inc. v. Madio & Co., 869 So. 2d 581,

   582 (Fla. Dist. Ct. App. 2004) (“[T]he mere fact that [a defendant]’s remaining claims allege

   statutory violations of the FDUTPA does not mean that they are not subject to the

   [forum-selection] clause.”); Best Beach Getaways LLC v. TSYS Merch. Sols. LLC, 2020 WL

   9264809, at *3 (N.D. Fla. July 2, 2020) (FDUTPA claim governed by venue clause covering

   claims “relating to” the agreement)). Defendants argue that cases relied on by Plaintiffs for the

   proposition that FDUTPA claims do not fall within forum-selection clauses are distinguishable

   from this case. Resp. at 8, n.5. For example, in Contractor’s Mgmt., Defendants note that the



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   forum-selection clause explicitly used the words “[a]ny lawsuit, litigation or arbitration concerning

   this agreement.” Resp. at 8, n.5 (citing Contractor’s Mgmt., 799 So. 2d at 321 (emphasis added)).

   Defendants also argue that even if the FDUTPA does implicate the public interest, that does not

   bar the application of the forum-selection clause in this case. Id. at 8–9 (citing World Vacation

   Travel, S.A., de C.V. v. Brooker, 799 So. 2d 410, 411–12 (Fla. Dist. Ct. App. 2001) (enforcing

   forum-selection clause as to FDUTPA claim “is not violative of Florida public policy”); Gordon

   v. Sandals Resorts Int’l, Ltd., 418 F. Supp. 3d 1132, 1140–41 (S.D. Fla. 2019)).

             To begin, the Court finds that the application of the forum-selection clause in this case,

   which includes FDUTPA claims, does not contravene public policy. As noted in Gordon, Florida’s

   policy as to whether a forum-selection clause should be enforced against a plaintiff asserting a

   claim under FDUTPA is “muddled.” 418 F. Supp. 3d at 1140. In Gordon, U.S. District Judge

   Robert N. Scola reviewed the state of Florida law on this issue, which bears repeating here at

   length:

             The Florida courts have conflicting holdings regarding when and if a forum
             selection clause is enforceable against a FDUTPA claim. In Management
             Computer Controls, the Florida appellate court held that the venue clause could not
             be applied to the FDUTPA claim because “[t]he use of the venue clause as a defense
             to the statutory claim in this case would undermine the effectiveness of the statute.”
             743 So. 2d at 632. Since the unfair trade claim was “severable from all the
             remaining claims” and “it [did] not arise out of the contract,” the court concluded
             that the FDUTPA claim was beyond the scope of the venue clause. Id. Subsequent
             cases have held forum selection clauses to be valid, and they have distinguished
             Management Computer Controls on the basis that, unlike the claims in
             Management, the claims arose from the contract. See World Vacation Travel,
             S.A. v. Brooker, 799 So. 2d 410, 412 (Fla. Dist. Ct. App. 2001) (the claims are not
             severable, the claims arise out of the agreement and “there is no public policy
             against the contracting parties designating the home state of one of two corporations
             as the forum for ensuing litigation.”); SAI Ins. Agency, Inc. v. Applied Systems, Inc.,
             858 So. 2d 401, 403 (Fla. Dist. Ct. App. 2003) (distinguishing Management
             Computer Controls and “declin[ing] to construct a rule of public policy that would
             completely abrogate language selected by the parties to a contract.”); see also,
             Contractor's Management Systems of NH, Inc. v. Acree Air Conditioning, Inc., 799



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          So. 2d 320 (Fla. Dist. Ct. App. 2001) (the claim does not arise out of the agreement,
          and therefore the forum selection clause does not apply).

          In 2004, a Florida appellate court expanded the public policy reasoning from
          Management Computer Controls. See America Online, Inc. v. Pasieka, 870 So. 2d
          170, 171 (Fla. Dist. Ct. App. 2004). That court ruled that the class action FDUTPA
          claim was not subject to the forum selection clause, “as that would undermine the
          effectiveness and purpose of the statute.” Id. at 171. The court distinguished
          Pasieka from the previous line of cases on the basis that it was a class action. It
          recognized that “Management Computer did not establish an absolute rule against
          enforcing forum selection clauses in connection with FDUTPA claims.” Id.
          Because Pasieka involved a class action and the unavailability of the Florida
          remedy in another state, “the policy concerns recognized in Management
          Computer . . . militate against enforcement of the clause here.” Id. But this policy
          has not been consistently articulated by the Florida courts. Another Florida court
          upheld the same forum selection clause as the one from Pasieka and did not discuss
          policy concerns specific to class actions. America Online, Inc. v. Booker, 781 So.
          2d 423, 424 (Fla. Dist. Ct. App. 2001). That court decided that the choice of forum
          clause is valid and enforceable even though the chosen forum does not have a
          mechanism for class actions and parties would have to litigate individual cases in
          Virginia small claims court. Id. The court stated that “forum selection clauses
          enhance contractual and economic predictability, while conserving judicial
          resources and benefitting commercial entities as well as consumers” and further
          that “[t]o promote these policy goals, Florida courts are directed to give effect to
          agreements on forum selection in order ‘to recognize the legitimate expectations of
          contracting parties.’” Id. at 424–25 (citing Marique v. Fabbri, 493 So. 2d 437, 440
          (Fla. 1986)).

   418 F. Supp. 3d at 1140–41 (internal citations reformatted) (emphasis added). In Gordon, having

   extensively reviewed the state of Florida law on this issue, the “court decline[d] to find that the

   enforcement of the forum selection clause would contravene Florida public policy.” Id. In so

   doing, Judge Scola noted that “‘[p]ublic policy is an amorphous concept’ [and] ‘it has been held

   that, the delicate and undefined power of courts to declare a contract void as contravening public

   policy should be exercised with great caution.’” Id. (quoting Davis v. Oasis Legal Finance

   Operating Company, LLC, 936 F.3d 1174, 1178 (11th Cir. 2019)). The Court agrees with, and




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   finds no reason to depart from, the reasoning in Gordon and finds that public policy does not

   preclude the application of the forum-selection clause to this case.5

          Next, the Court considers whether the FDUTPA claims in the Amended Complaint arise

   under the terms of the forum-selection clause in YouTube’s TOS. For the reasons discussed below,

   the Court finds that the forum-selection clause applies to the FDUTPA claims.

          Although the law in this area is not entirely settled, many Florida courts hold that FDUTPA

   claims are governed by forum-selection clauses. Best Beach, 2020 WL 9264809, at *3 (citing

   Gordon, 418 F. Supp. 3d at 1140–41 (collecting cases, and noting the divide relates to whether the

   claims to be severed relate to the underlying contract).6 The Court agrees with the reasoning of

   courts which have found that FDUTPA claims may fall within the scope of forum-selection

   clauses—depending on the language of the forum-selection clause and the facts underlying the

   FDUTPA claim. See Fairbanks Contracting & Remodeling, Inc. v. Hopcroft, 169 So. 3d 282, 283

   (Fla. Dist. Ct. App. 2015) (citing Farmers Grp., Inc. v. Madio & Co., 869 So.2d 581, 582 (Fla.

   Dist. Ct. App. 2004) (holding that a valid forum-selection clause applied to tort and FDUTPA

   claims where there was a “significant and obvious nexus between the claim and the Agreement”));

   Best Beach, 2020 WL 9264809, at *3 (“The forum selection clause at issue in this case includes

   claims ‘relating to’ the Merchant Card Processing Agreement, and Plaintiff’s FDUTPA claim




   5
      “Florida’s interest in preventing deceptive and unfair trade practices can be vindicated just as
   meaningfully by any given federal court—particularly since the State of Florida is not a party to
   this case.” Best Beach, 2020 WL 9264809, at *2.
   6
     Some Florida courts have found that FDUTPA claims are severable from other claims that are
   subject to a forum selection clause. See, e.g., Mgmt. Computer Controls, Inc. v. Charles Perry
   Constr., Inc., 743 So. 2d 627 (Fla. Dist. Ct. App. 1999). However, the Court agrees with the
   reasoning of other courts that have applied forum-selection clauses to FDUTPA claims, based on
   the language of the forum-selection clause. Gordon, 418 F. Supp. 3d at 1141 (citing Phillips v.
   NCL Corp. Ltd., 2019 WL 2288987 (S.D. Fla. May 29, 2019)).
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   manifestly relates to Defendant's performance of its obligations under that agreement. Plaintiff’s

   FDUTPA claim is therefore governed by the forum selection clause.”). The Court recognizes that

   in certain circumstances, an FDUTPA claim might arise outside the language of a forum-selection

   clause, such as where a claim is unrelated to an agreement between two parties. However, for the

   reasons discussed below, the Court finds that is not the circumstance in this case and, here, the

   FDUTPA allegations asserted in the Amended Complaint fall squarely within the scope of the

   TOS’s forum-selection clause.

              In this case, YouTube’s TOS includes broad language encompassing “[a]ll claims arising

   out of or relating to these terms or the Service.” TOS at 7. The TOS also includes provisions

   stating:

              Your use of the Service is subject to these terms, the YouTube Community
              Guidelines and the Policy, Safety and Copyright Policies which may be updated
              from time to time. . . .

              If you choose to upload Content, you must not submit to the Service any Content
              that does not comply with this Agreement (including the YouTube Community
              Guidelines) or the law. . . .

              You grant to YouTube the right to monetize your Content on the Service (and such
              monetization may include displaying ads on or within Content or charging users a
              fee for access). This Agreement does not entitle you to any payments. . . .

              If we reasonably believe that any Content is in breach of this Agreement or may
              cause harm to YouTube, our users, or third parties, we may remove or take down
              that Content in our discretion. . . .

              YouTube may suspend or terminate your access, your Google account, or your
              Google account's access to all or part of the Service if (a) you materially or
              repeatedly breach this Agreement; (b) we are required to do so to comply with a
              legal requirement or a court order; or (c) we believe there has been conduct that
              creates (or could create) liability or harm to any user, other third party, YouTube or
              our Affiliates. . . .

              We will notify you with the reason for termination or suspension by YouTube
              unless we reasonably believe that to do so: (a) would violate the law or the direction
              of a legal enforcement authority, or would otherwise risk legal liability for

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          YouTube or our Affiliates; (b) would compromise an investigation or the integrity
          or operation of the Service; or (c) would cause harm to any user, other third party,
          YouTube or our Affiliates. . . .

   TOS at 3–6.

          Plaintiffs’ assertion that their claims do not arise under the forum-selection clause is

   premised entirely on their FDUTPA claims. Resp. at 11–13. Yet, in the Amended Complaint,

   Counts III and IV, which assert claims under FDUTPA, both explicitly reference the policies of

   YouTube as the basis for each claim. For example, in Count III, Plaintiffs allege that “Defendants

   have repeatedly failed to act in good faith and accordance with their stated policies regarding the

   removal, demonetization, and moderation of content on their platform.” Am. Compl. ¶ 270.

   Likewise, Plaintiffs allege in Count IV that “Defendants have acted in ways contrary to their

   published standards regarding censorship (flagged, demonetized, etc.).” Id. ¶ 286. Thus, the Court

   finds Plaintiffs’ assertion that the “[t]he case before the Court is independent of any agreement

   that may exist between Plaintiffs and Defendants,” Resp. at 13, is untethered to the allegations in

   the Amended Complaint. To the contrary, the FDUTPA claims are inextricably linked to the

   aforementioned provisions of the TOS, based upon the allegations included in the Amended

   Complaint. For these reasons, the Court finds that the FDUTPA claims are covered by the

   forum-selection clause in the TOS.

          The Court’s finding is consistent with the Eleventh Circuit’s interpretation of

   forum-selection clauses containing the words “arising out of” to broadly cover “all causes of action

   arising directly or indirectly from the business relationship evidenced by the contract.” See

   Stewart, 810 F.2d at 1070; see also Loomer v. Facebook, Inc., 2020 WL 2926357, at *3 (S.D. Fla.

   Apr. 13, 2020) (“The terms of the forum-selection clause are broad. The forum-selection clause




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   applies to ‘any claim, cause of action, or dispute you have against us that arises out of or relates to

   these Terms or the Facebook Products.’”).

                     4. Plaintiffs Have Not Met Their Burden to Show This Case Should Not Be
                        Transferred Pursuant to the Forum-Selection Clause.

          Defendants contend that there are no public-interest factors that disfavor a transfer to the

   Northern District of California because: (1) Plaintiffs do not demonstrate an administrative

   difficulty that would arise from a transfer, (2) this is not a localized controversy, and (3) this case

   primarily involves issues of federal law. Mot. at 15–18.

          In response, Plaintiffs contend that the public interest compels the Court to retain

   jurisdiction in this action for five reasons. Resp. at 13. First, Plaintiffs argue that the FDUTPA

   claims asserted in Counts III and VI make this a “localized controversy” and are unique to Florida.

   Id. at 13–14. Second, several Plaintiffs, including Plaintiff Trump, are residents of Florida. Id. at

   14. Third, Plaintiffs analogize this case to Seaman v. Priv. Placement Cap. Notes II, LLC,

   No. 16-CV-00578-BAS-DHB, 2017 WL 1166336, at *1 (S.D. Cal. Mar. 29, 2017), where a court

   found that exceptional circumstances outweighed enforcing a valid forum-selection clause. Id. at

   14–15. Fourth, Plaintiffs contend that the relative bargaining positions between YouTube and its

   customers is a consideration that weighs against the transfer of this case to Northern District of

   California. Id. at 16–17. Fifth, Plaintiffs also point to concerns raised by U.S. Supreme Court

   Justice Clarence Thomas regarding Section 230 in an opinion on a petition denying a writ of

   certiorari. Id. at 17–18 (citing Malwarebytes, Inc. v. Enigma Software Grp. USA, LLC, 141 S. Ct.

   13, 14 (2020)).

          In reply, Defendants argue that that there is no rule against applying a forum-selection

   clause to FDUTPA claims and points out that several courts have done so. Reply at 7. Defendants

   argue that Plaintiffs have failed to carry the high burden of showing that public-interest factors

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   “overwhelmingly disfavor a transfer.” Id. at 9 (citing Atl. Marine, 571 U.S. at 67). Defendants

   also point out that issues in this suit are not localized in Florida because: (1) other Plaintiffs reside

   in Colorado and New York, (2) one Plaintiff is an organization based in Washington, D.C., (3)

   Defendants are based in California, and (4) Plaintiffs seek to invalidate a federal statute. Id. at 9.

           “[A] proper application of § 1404(a) requires that a forum-selection clause be ‘given

   controlling weight in all but the most exceptional cases.’” Atl. Marine, 571 U.S. at 59–60 (citation

   omitted). Where the parties have agreed to a forum-selection clause, a court evaluating a motion

   to transfer should “afford no weight to either the plaintiff’s selected forum or the parties’ private

   interests, and [should] ignore the choice-of-law rules of the original venue.” Hisey, 753 F. App’x

   at 703 (citing Atl. Marine, 571 U.S. at 62–65). In such circumstances, “the plaintiff must bear the

   burden of showing why the court should not transfer the case to the forum to which the parties

   agreed.” Atl. Marine, 571 U.S. at 64. Typically, a plaintiff may seek to overcome this burden by

   showing that the public interest favors the preselected forum. Id. Plaintiffs bear a high burden in

   this regard. Id. as 67 (stating that a plaintiff “must bear the burden of showing that public-interest

   factors overwhelmingly disfavor a transfer”).           “Public-interest factors may include ‘the

   administrative difficulties flowing from court congestion; the local interest in having localized

   controversies decided at home; [and] the interest in having the trial of a diversity case in a forum

   that is at home with the law.’” Id. at 64 (quoting Piper Aircraft, 454 U.S. at 241 & n.6).

           Here, the Court finds that Plaintiffs have not satisfied their burden of demonstrating that

   the forum-selection clause, to which they all agreed, should not be enforced in this case.

           The Court finds that this case does not present a localized controversy that favors keeping

   this litigation in the Southern District of Florida. To the contrary, this case involves issues that are

   national in scope, for the following reasons. First, although some Plaintiffs, including Plaintiff



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   Trump, are in Florida, others are located around the country in Colorado, New York, and

   Washington, D.C. Am. Compl. ¶¶ 16–25. Second, YouTube is headquartered in California. Id.

   ¶ 27. Third, Plaintiffs are suing Defendants on behalf of a nationwide class. Id. ¶¶ 302–310. And

   fourth, Plaintiffs invoke the First Amendment of the U.S. Constitution to invalidate a federal

   statute. Id. ¶¶ 235–254.7

          This case is highly distinguishable from the circumstance in Seaman. In that case, which

   arose from an SEC enforcement action, the court found that the public interest weighed against the

   application of a forum-selection clause because: (1) litigating in another forum would increase

   costs on a receiver that had been appointed, thereby decreasing the funds available to investors

   and creditors; (2) the largest concentration of defrauded investors was located in Southern District

   of California; and (3) the fallout and damage from the alleged fraudulent conduct was

   “overwhelmingly” concentrated in that district. Seaman, 2017 WL 1166336, at *7. None of these

   concerns are present in this case, where Plaintiffs are located around the country and pursue their

   claims on behalf of a nationwide class. Moreover, Plaintiffs have not suggested that there would

   be any administrative or cost-related obstacles to litigating this case in California.

          Plaintiffs remaining arguments relate to: (1) the bargaining power of YouTube’s

   customers, (2) the “addictive” nature of social media, and (3) and Justice Thomas’s views on

   Section 230. Resp. at 13–18. These arguments are not directly related to the sorts of public-interest

   considerations that weigh against applying a forum-selection clause. Atl. Marine, 571 U.S. at 64

   (“Public-interest factors may include ‘the administrative difficulties flowing from court

   congestion; the local interest in having localized controversies decided at home; [and] the interest



   7
      To the extent Plaintiffs argue that the presence of FDUPTA claims create a public interest in
   favor of keeping this case in Florida, the Court finds that argument to be without merit for the
   reasons stated above.
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   in having the trial of a diversity case in a forum that is at home with the law.’” (quoting Piper

   Aircraft Co., 454 U.S. at 241 & n.6)). Moreover, they have nothing to do with a public interest

   that favors keeping this case in the Southern District of Florida, in particular. Thus, the Court finds

   that these considerations do not weigh against the application of the forum-selection clause in this

   case.8

            For the reasons discussed above, the Court finds that Plaintiffs have failed to meet their

   burden of “showing that public-interest factors overwhelmingly disfavor a transfer.” Atl. Marine,

   571 U.S. at 64.

   IV.      CONCLUSION

            Accordingly, UPON CONSIDERATION of the Motion, the pertinent portions of the

   record, and being otherwise fully advised in the premises, it is hereby ORDERED AND

   ADJUDGED that:

            1. Defendants’ Motion to Transfer to the Northern District of California (ECF No. 64) is

               GRANTED.

            2. The above-captioned case is hereby TRANSFERRED to the Northern District of

               California.




   8
     Additionally, the Court notes that Plaintiffs’ arguments as to the bargaining power of YouTube’s
   customers with respect to the TOS speaks to whether the TOS are unconscionable. Thus, these
   arguments are more related to the enforceability of the contract, rather than the issue of whether
   the public interest favors keeping this case in the Southern District of Florida despite the existence
   of an enforceable forum-selection clause. In any event, the Court agrees with other courts that
   have found that the bargaining power between social media companies and their customers does
   not render a forum-selection clause to be unconscionable. See Loomer, 2020 WL 2926357, at *3
   (“[w]hile the Terms are presented on a take-it-or-leave-it basis, Plaintiff was under no obligation
   to enter into the agreement. Social media is not a requirement of life and there are other social
   media platforms available to Plaintiff. Thus, her argument that the entire agreement between the
   parties, including the forum-selection clause, is unconscionable fails.”).
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          3. The Clerk of Court is hereby INSTRUCTED to TRANSFER the docket and record of

              the above-captioned case to the Clerk of Court for the Northern District of California.

          4. The Clerk of Court is INSTRUCTED to CLOSE this case.

          5. All pending motions, if any, are DENIED AS MOOT.

          DONE AND ORDERED in Chambers at Miami, Florida, this ____
                                                               6th day of October, 2021.




                                                    K. MICHAEL MOORE
                                                    UNITED STATES DISTRICT JUDGE


   c: All counsel of record




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